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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


BRENT S., and ANGIE S., individually      )
and on behalf of all others similarly situated,
                                          )
                                          )
      Plaintiffs,                         )
                                          )                          CIVIL ACTION
                  v.                      )                          NO. 1:17-cv-11569-ADB
                                          )
BLUE CROSS AND BLUE SHIELD                )
OF MASSACHUSETTS, INC.,                   )
                                          )
      Defendant.                          )
__________________________________________)

                    FIRST AMENDED CLASS ACTION COMPLAINT
                   ________________________________________________

        Brent S. ("Brent"), and Angie S. ("Angie") (collectively “Plaintiffs”), individually and as

representatives of the class of similarly situated individuals, complain and allege against

Defendant Blue Cross and Blue Shield of Massachusetts, Inc. (“BCBSMA” or “Defendant”) as

follows:


                                    NATURE OF THE CASE

1.      BCBSMA systematically denies payment of claims for adolescents’ residential treatment

of mental health disorders because part of those treatment services involves an educational

component during the course of treatment. 1 These denials are wrongful.

2.      There is no dispute that residential treatment is covered by BCBSMA’s health insurance

policies.




1
 The term “adolescent” used throughout this First Amended Class Action Complaint means any insured
under the age of 19 years.
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3.     BCBSMA denies claims for mental health residential treatment when there is an

educational component to the treatment, citing exclusionary language in the policies.

4.     However, BCBSMA ignores policy language that allows for an exception to this alleged

exclusion when the treatment is received by an adolescent. The obvious intent of this adolescent

exception to the exclusion is that high school aged insureds need to continue with their schooling

during long-term mental health residential treatment stays.

5.     Residential treatment is commonly provided to adolescents. The average length of stay

for adolescents receiving treatment at residential treatment centers is seven to ten months. Many

residential treatment facilities, including the one providing the treatment in this case, are

designed and licensed specifically to provide treatment to minors in their teens. Generally

accepted standards of mental health care require that residential treatment for adolescents include

appropriate educational services.

6.      Because of this need to keep young insureds on track with their schooling, BCBSMA

provided an exception in their health insurance policy that allows for insureds under the age of

19 to receive residential treatment in a setting that also has an educational component. However

as discussed in detail below, BCBSMA disregards this adolescent exception to the alleged

educational exclusion and denies claims that should be paid.

7.     BCBSMA is one of the largest health insurers in the country. It provides group health

insurance coverage and acts as an administrator of health insurance policies for thousands of

insureds.

8.     BCBSMA is required under the Employee Retirement Income Security Act of 1974

(“ERISA”) to administer welfare benefit plans solely in the interest of the participants and




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beneficiaries, for the exclusive purpose of providing benefits and in accordance with the

instruments that govern its health insurance policies.

9.      This case seeks to correct impermissible denial of services made by BCBSMA for

treatment provided to Plaintiffs’ son Jake S. (“Jake”) and all similarly situated adolescents for

whom coverage for mental health disorders in a residential treatment setting has been denied

based on the alleged educational component exclusion.


                                            PARTIES


10.     Plaintiffs Brent and Angie are individuals residing in Douglas County, Colorado. Brent,

Angie and their son Jake are covered by a BCBSMA ERISA governed health insurance policy

provided by Brent’s private sector employer.

11.     Defendant BCBSMA is a health insurer headquartered in Massachusetts, is a citizen of

Massachusetts, and administers ERISA governed health insurance policies in Massachusetts.


                                  JURISDICTION & VENUE


12.     The BCBSMA health insurance policies that are the subject of this lawsuit are provided

through employer sponsored welfare benefit plans that are governed by ERISA, 29 U.S.C. §

1001, et. seq.

13.     At all relevant times, BCBSMA acted as a fiduciary, as that term is defined at 29 U.S.C.

§ 1002(21), for the ERISA plans subject to this lawsuit.

14.     This Court has jurisdiction over this matter under 29 U.S.C. §1132(e)(1) and 28 U.S.C.§

1331.




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15.    Venue is appropriate under 29 U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) and (c)

because BCBSMA is headquartered in Massachusetts, is a citizen of Massachusetts, and

administers ERISA welfare benefit plans in Massachusetts.


            RELEVANT LANGUAGE IN THE BCBSMA ERISA GOVERNED

                             HEALTH INSURANCE POLICIES

16.    For Brent, Angie, Jake and each class member, the relevant language in their BCBSMA

ERISA governed health insurance policies are either identical or substantially similar.

17.    There is no dispute that the BCBSMA policies cover mental health residential treatment.

18.    BCBSMA alleges that the policies exclude mental health residential treatment services

that have an educational component and cite the following language in support:

       Some examples of services and programs that are not covered by this health plan
       are: services that are performed in educational…settings[.]… These types of non-
       covered programs may be in residential or nonresidential settings. They may
       include therapeutic elements and/or clinical staff services as well as vocational,
       educational, problem solving, and/or recreational activities. These programs may
       have educational accreditation. The staff may include some licensed mental health
       providers who may provide some therapy. No benefits are provided for any
       services furnished along with one of these non-covered programs. For example,
       no benefits are provided for therapy and/or psychotherapy furnished along with
       one of these non-covered programs.


19.    The dispute here is whether the following provision common to all class policies allows

for the coverage of mental health residential treatment that has an educational component when

the treatment is for an adolescent:


       No benefits are provided for exams, evaluations, or services that are performed
       solely for educational or developmental purposes. The only exceptions are
       for…treatment of mental conditions for enrolled dependents who are under age
       19[.] (emphasis added).




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                                  FACTUAL ALLEGATIONS

20.    BCBSMA is one of the largest health insurers in the country, providing coverage and

administering health insurance plans for millions of employees and their dependents.

21.    The claims for coverage of adolescent mental health residential treatment in this lawsuit

are under BCBSMA ERISA governed health insurance policies.

22.    BCBSMA argues that the language of the policy quoted above excludes coverage for

mental health residential treatment that has an educational component.

23.    BCBSMA makes no attempt to evaluate, on an individual patient basis, the merits of a

claim for residential treatment that has an educational component, even for adolescents’ claims,

and instead denies the claim outright. This was the experience of Jake, and all similarly situated

class members.

24.    Jake, received treatment for his mental health conditions at Ashcreek Ranch Academy

("ARA"), a licensed residential treatment program in Washington County, Utah from March 13,

2014 through January 24, 2015. During this 10 month time period, Jake was 17 years old.

25.    Jake struggled with mental health problems involving suicidal thoughts, self-esteem, and

substance abuse for several years before being admitted to ARA.

26.    Jake began smoking marijuana when he was thirteen. In the months before his admission

to ARA, Jake had progressed to using various pills, cocaine, and heroin. He was depressed and

ashamed about his behavior and the problems he was causing friends and family. He was

prescribed with an anti-depressant and, later, a mood stabilizer.

27.    Before his admission to ARA, Jake had been involved in a number of physical assaults

with others, including with Brent. He had also been brought into the juvenile justice system

based on substance abuse and his assaults.




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28.    Jake ran away from home during this time frame. After three days he contacted his

mother and told her he was OK and came home a day later.

29.    Several months before being admitted to ARA Jake had been ordered by a juvenile court

judge to receive mental health treatment for his substance abuse. He did well in rehabilitation for

four months but then, immediately before his admission to ARA, relapsed and began using drugs

again. Given the continuing deterioration, Brent and Angie, in consultation with and

recommendations from Jake’s health providers, arranged for treatment at ARA.

30.    Immediately before Jake’s admission to ARA, he had been treated on an acute inpatient

basis at Mountain Crest Behavioral Health Center (“MCBHC”) in Fort Collins.

31.    At the time of his discharge from MCBHC, Brent and Angie felt they had no ability to

keep Jake from running away and either committing suicide or self-harming unless he was

transferred directly to a sub-acute inpatient residential treatment setting. Health care

professionals involved with Jake’s treatment at MCBHC recommended residential treatment for

Jake to treat his mental health conditions. Brent drove Jake directly to ARA from MCBHC in

March, 2014.

32.    Jake was 17 years old at the time of his admission to ARA.

33.    ARA was licensed with the Utah State Department of Human Services to provide

residential treatment for adolescents during the entire time Jake was treated at ARA. Copies of

ARA’s licenses during the time Jake was treated were provided to BCBSMA by both Brent and

Angie and ARA during the pre-litigation appeal process for this case. ARA’s licensure and the

services it provided to its patients fall within the coverage provisions of Jake’s health insurance

policy, specifically, the adolescent exception to the alleged educational component exclusion.




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34.    Authorization was requested for coverage of Jake’s treatment at ARA. In addition, claims

were submitted to BCBSMA for coverage of Jake's treatment at ARA.

35.    On February 25, 2015, BCBSMA denied Jake’s claim for coverage of his treatment

ARA.

36.    Brent appealed the denial of coverage on April 15, 2015.

37.    BCBSMA again denied Jake’s claim on May 14, 2015. In this denial, BCBSMA asserted

that the sole basis for the claim denial was because "Ashcreek Ranch Academy is a residential

treatment [sic] and boarding school. Ashcreek Ranch Academy is not a covered type of provider

on your . . . Plan." BCBSMA then quoted the policy language referencing the alleged coverage

limitation for mental health services performed with an educational component and concluded

"[w]e are not questioning the medical necessity of the service or making a medical judgment."

38.    Plaintiffs have exhausted their ERISA pre-litigation appeal obligations before filing this

action. Plaintiffs have paid out of pocket for Jake’s treatment at ARA and BCBSMA has paid

nothing.




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                                      CLASS ALLEGATIONS


39.       BCBSMA’s systematic practice of denying coverage for adolescents’ mental health

residential treatment with an educational component violates the terms of the ERISA governed

health insurance policies.

40.       As a result of these actions, BCBSMA systematically and improperly denies coverage for

mental health treatment in residential treatment facilities for adolescents covered under

BCBSMA ERISA governed health insurance policies.

41.       BCBSMA's systematic actions in violation of ERISA and the terms of the health

insurance policies, as outlined above, are breaches of its fiduciary duties to the participants and

their beneficiaries found at 29 U.S.C. §§ 1104(a)(1)(A) and (a)(1)(D).

42.       In addition to Jake, on information and belief, more than 100 insured adolescents under

BCBSMA ERISA health insurance policies have had mental health residential treatment claims

improperly denied based on BCBSMA’s failure to apply the adolescent exception to the alleged

educational component exclusion. Thousands more adolescents are generally insured under

BCBSMA ERISA governed health insurance policies and, absent Court intervention, will face

BCBSMA’s improper actions if they are to file a claim in the future.

43.       Plaintiffs seek certification of the following two classes under F.R.C.P 23(b)(1) and

(b)(2):

          Class I: All current BCBSMA ERISA governed health insurance beneficiaries
          under the age of 19 covered by a health insurance policy that contains this same
          or similar language, “No benefits are provided for exams, evaluations, or services
          that are performed solely for educational or developmental purposes. The only
          exceptions are for: …treatment of mental conditions for enrolled dependents who
          are under age 19[.]”




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         Class II: All former or current BCBSMA ERISA governed health insurance
         beneficiaries who are, or were, covered by a health insurance policy that contains
         the same or similar language, “No benefits are provided for exams, evaluations, or
         services that are performed solely for educational or developmental purposes. The
         only exceptions are for: …treatment of mental conditions for enrolled dependents
         who are under age 19[,]” and who had a claim for mental health residential
         treatment, while under the age of 19, denied on the basis that the treatment had an
         educational component and/or was performed in an educational setting.

44.      Class I seeks declaratory relief and an injunction preventing BCBSMA from engaging in

the complained of conduct from the date of the injunction.

45.      Class II seeks declaratory relief and an injunction requiring BCBSMA to reprocess class

members’ claims in accordance with the terms of their health insurance policies, which allow for

an exception to the alleged educational component exclusion when the insured is under the age

of 19.

46.      The proposed class action is appropriate for certification under F.R.C.P. 23(a)(1), because

the tens of thousands of adolescents who are covered by BCBSMA ERISA governed health

insurance policies, and the estimated hundred or more who have faced improper denials as

alleged herein, is so numerous that joinder of each of the individuals as a plaintiff is impractical.

47.      The proposed class action is appropriate for certification under F.R.C.P. 23(a)(2), because

there are questions of law or fact that are common to the class, namely, whether BCBSMA’s

denial of mental health residential treatment claims of adolescents based on the alleged

educational component exclusion is correct given the policies’ exception for care provided to

insureds under 19, as discussed in detail above.

48.      Certification of a class action is proper under F.R.C.P. 23(a)(3) because the claims of the

Plaintiffs are typical of the members of the proposed class in that the basis for Jake’s denial for

treatment at ARA was based on the alleged educational component exclusion.




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49.      The prerequisite for class action certification identified at F.R.C.P. 23(a)(4) is met in this

case, because the named representatives of the proposed class will fairly and adequately protect

the interest of the proposed class and Plaintiffs’ counsel has adequate experience and background

in both health insurance litigation and consumer class action litigation to represent the proposed

class.

50.      Certification of a class action under F.R.C.P. 23(b)(1) is proper, because prosecution of

separate actions by all the individual members of the proposed class would create a risk of

inconsistent and varying adjudication with respect to the individuals that would result in

incompatible standards of conduct for BCBSMA. For example, if one reviewing court were to

decide that BCBSMA’s use of the alleged educational component exclusion is improper when

denying adolescents’ mental health residential treatment claims, and a different reviewing court

were to decide the opposite, BCBSMA would be facing wholly incompatible standards of

conduct when trying to decide an adolescent’s mental health residential treatment claim with an

educational component.

51.      Similarly, certification of a class action under F.R.C.P. 23(b)(1) is also proper, because if

this Court were to only issue a decision on the legal issue raised in Jake’s claim on an individual

basis, it would be dispositive of the interests of the other members not parties to the individual

adjudication or would substantially impair or impede their ability to protect their interests since

legal precedent would be created on the interpretation of policy language common to all class

members.

52.      Certification of a class action under F.R.C. P. 23(b)(2) is also appropriate, because

BCBSMA’s uniform practice of misapplying the alleged educational component exclusion to




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mental health residential treatment claims of adolescents applies generally to the class making

final injunctive or declaratory relief appropriate respecting the class as a whole.

                                  FIRST CAUSE OF ACTION

                      (Claim for Benefits under 29 U.S.C. §1132(a)(1)(B))

53.     BCBSMA's actions in denying coverage for adolescents’ mental health care at residential

treatment centers that have an educational component violates the express terms of the ERISA

governed insurance policies.

54.     BCBSMA's actions have harmed Plaintiffs and the classes because BCBSMA has

systematically denied coverage for adolescents’ mental health care in residential treatment

settings that should be covered under the required terms of the ERISA governed health insurance

policies subject to this case.

55.     As a result of BCBSMA's failure to provide coverage for adolescents’ mental health

treatment as required by the terms of the relevant ERISA governed health insurance policies,

BCBSMA has wrongly denied coverage for Plaintiffs and the classes’ adolescent mental health

treatment received in a residential setting with an educational component.

56.     The Plaintiffs and the classes are entitled to declaratory judgment and an injunction

requiring that BCBSMA administer their ERISA governed health insurance policies in

compliance with ERISA and the terms of the contracts.


                                 SECOND CAUSE OF ACTION

            (Claim for Appropriate Equitable Relief under 29 U.S.C. §1132(a)(3))

57.       Plaintiffs and the classes are entitled to declaratory judgment and an injunction.

58.       Plaintiffs and the class members seek this Court’s order that they are entitled to

appropriate equitable relief under 29 U.S.C. §1132(a)(3), including injunctive relief prohibiting




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past and future violations of ERISA relating to ERISA instruments; reformation of ERISA

instruments drafted by BCBSMA to the degree policy language violates ERISA; for the

equitable relief of surcharge requiring reprocessing improperly denied residential treatment

claims as described above.


                                   REQUEST FOR RELIEF


WHEREFORE, Plaintiffs, on behalf of the putative Class I and Class II pray for judgment

against BCBSMA as follows:


1.     For an Order certifying the proposed classes under F.R.C P. 23(b)(1) and (b)(2);

2.     For the relief outlined in the First and Second Causes of Action outlined above;

3.     Declaratory relief and an injunction prohibiting BCBSMA from applying the alleged

educational component exclusion to adolescents’ claims for mental health residential treatment;

4.     Declaratory relief and an injunction directing BCBSMA to reprocess all Class II

members’ mental health residential treatment claims that were denied on the alleged educational

component exclusion basis;

5.     An award of costs and attorneys’ fees available under law or statute including 29 U.S.C.

§1132(g).

6.     For such further relief as the Court deems equitable in the case.




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Dated: November 3, 2017


                                              THE PLAINTIFFS, BY THEIR
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